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 8                            UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10     UNITED STATES OF AMERICA,              Case No. 2:23-cr-00599-MCS-1
11
                         Plaintiff,           ORDER RE: VOIR DIRE
12                                            QUESTIONNAIRE
13                 v.
14
       ROBERT HUNTER BIDEN,
15
                         Defendant.
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 1          Based on the discussion at the pretrial conference, the Court proposes the
 2    following voir dire questionnaire. To facilitate preparation and administration of the
 3    questionnaire, by August 30, 2024, the parties must file a joint statement either
 4    consenting to the proposed questionnaire or proposing further modifications and, if the
 5    parties cannot agree on the proposed modifications, setting forth the parties’ respective
 6    positions thereon. The Court will not entertain proposals to modify questions to which
 7    the parties previously agreed in their proposed questionnaire or to add questions not
 8    presented in the parties’ proposal. The Court will finalize the questionnaire after
 9    reviewing the parties’ joint statement without hearing further argument.
10
11    IT IS SO ORDERED.
12
13     Dated: August 26, 2024
14                                                   MARK C. SCARSI
                                                     UNITED STATES DISTRICT JUDGE
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 1           Thank you for performing your civic duty and participating in jury service today.
 2    Please answer the following questions to the best of your ability. If you are unsure how
 3    to respond to a question, please mark YES as your response.
 4     No.                            Question                                Response
 5     1     The Court has read you a statement of the case. Have you ___ YES ___ NO
 6           heard or read anything about this case or the underlying
 7           investigation from the news, social media, or any other
 8           source?
 9     2     Have you formed any opinions about this case that would ___ YES ___ NO
10           prevent you from being a fair and impartial juror?
11     3     Is there anything about the nature of the charges in this ___ YES ___ NO
12           case that would prevent you from being a fair and impartial
13           juror?
14     4     The lawyers who are and who have been involved in this ___ YES ___ NO
15           case are: Leo Wise and Derek Hines of the United States
16           Department of Justice, who represent the United States;
17           and Mark Geragos, Tina Glandian, and Setara Qassim of
18           Geragos & Geragos, and Abbe Lowell, Christopher Man,
19           and Angela Machala of Winston & Strawn LLP, who
20           represent the defendant, Robert Hunter Biden. Do you or
21           a member of your immediate family, such as a spouse,
22           significant other, child, parent, or sibling, know any of
23           these attorneys?
24     5     Have you or any member of your immediate family had ___ YES ___ NO
25           any business dealings with, or been employed by, any of
26           the attorneys or offices listed in Question 4?
27
28
                                                  3
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 1
       6    The presiding judge in this case is Mark C. Scarsi. Do you ___ YES ___ NO
 2
            or anyone close to you know Judge Scarsi, his family, or
 3
            any of the court staff?
 4
       7    Are you, any member of your immediate family, or any of ___ YES ___ NO
 5
            your close friends acquaintances with Robert Hunter
 6
            Biden or any member of his family?
 7
       8    The Court has provided you a list of potential witnesses. ___ YES ___ NO
 8
            Are you familiar with any of them?
 9
       9    The law enforcement agencies involved in this case are ___ YES ___ NO
10
            (a) the Internal Revenue Service, Criminal Investigations,
11
            and (b) the Federal Bureau of Investigation (FBI). Would
12
            the fact that these agencies investigated this case interfere
13
            with your ability to be a fair and impartial juror?
14
       10   Have you, any member of your immediate family, or any ___ YES ___ NO
15
            of your close friends ever been employed or investigated
16
            by any law enforcement agency, including: state or local
17
            police, the Internal Revenue Service (IRS), the California
18
            Franchise Tax Board, the FBI, ATF, DEA, the Secret
19
            Service, U.S. Marshals Service, U.S. Immigration and
20
            Customs Enforcement, U.S. Customs and Border
21
            Protection, the Bureau of Prisons, any state or federal
22
            prosecutor’s office, or any state or local prison system?
23
       11   Do you believe that you will give more or less weight to ___ YES ___ NO
24
            the testimony of a law enforcement officer simply because
25
            he or she is employed as a law enforcement officer?
26
27
28
                                                  4
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 1
       12   Have you or any member of your immediate family ever ___ YES ___ NO
 2
            been (a) a victim of a crime, (b) a witness in a criminal
 3
            case, or (c) arrested for a crime, not including minor traffic
 4
            offenses?
 5
       13   Do you have any opinions about the criminal justice ___ YES ___ NO
 6
            system that would make it difficult for you to be a fair and
 7
            impartial juror in this case?
 8
       14   Are you, any member of your immediate family, or any of ___ YES ___ NO
 9
            your close friends studying, planning to work in, or
10
            currently working in a legal profession (e.g., as a lawyer,
11
            paralegal, or legal secretary)?
12
       15   Do you have any training, education, or work experience ___ YES ___ NO
13
            in law enforcement or investigations?
14
       16   Do you have any training, education, or work experience ___ YES ___ NO
15
            in bookkeeping, accounting, auditing, tax preparation, or
16
            tax advising?
17
       17   Do you have any negative or positive opinions or feelings ___ YES ___ NO
18
            about the tax laws or policies of the United States or about
19
            the IRS?
20
       18   Do you have any negative or positive opinions or feelings ___ YES ___ NO
21
            about payment of taxes, late payment of taxes, or
22
            nonpayment of taxes?
23
       19   Have you been involved in any tax audit or judicial or ___ YES ___ NO
24
            administrative proceedings with the IRS, any other agency
25
            of the United States Government, or of any state or local
26
            government, with regard to tax matters?
27
28
                                                  5
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 1
       20   Have you or a family member ever entered into a payment ___ YES ___ NO
 2
            plan or offer in compromise with the IRS or California
 3
            Franchise Tax Board?
 4
       21   Have you or a family member ever been the subject of a ___ YES ___ NO
 5
            collection action by the IRS or the California Franchise
 6
            Tax Board for unpaid taxes, such as having had the IRS
 7
            place a federal tax lien against them or their property,
 8
            levied their bank account, garnished their wages, or seized
 9
            their property?
10
       22   Does someone other than you personally prepare and/or ___ YES ___ NO
11
            file your individual taxes?
12
       23   Have you used a tax preparer, not including software or an ___ YES ___ NO
13
            online service such as TurboTax, to help prepare your tax
14
            returns?
15
       24   Have you or a family member ever prepared or filed taxes ___ YES ___ NO
16
            on behalf of a business?
17
       25   Have you ever experienced any significant personal issues ___ YES ___ NO
18
            or difficulties with the payment of taxes?
19
       26   Have you ever contacted the IRS or the California ___ YES ___ NO
20
            Franchise Tax Board via phone, email, letter, or fax
21
            regarding concerns or issues with your or a family
22
            member’s taxes?
23
       27   Have you or a family member ever received a Notice of ___ YES ___ NO
24
            Tax Lien from the IRS or the California Franchise Tax
25
            Board about a tax delinquency or failure to file or pay?
26
       28   Have you, a family member, or close friend ever been ___ YES ___ NO
27
            charged with any tax crimes?
28
                                                6
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 1
       29   If you were eligible to vote in any election in which Joseph ___ YES ___ NO
 2
            R. Biden was a candidate, would that fact prevent you
 3
            from maintaining an open, impartial mind until all of the
 4
            evidence is presented and the Court gives you
 5
            instructions?
 6
       30   Have you ever donated money to a political campaign?           ___ YES ___ NO
 7
       31   Have you ever been actively involved in a political ___ YES ___ NO
 8
            campaign, political organization, or any organization that
 9
            is associated with a political party?
10
       32   Have you or any member of your immediate family ever ___ YES ___ NO
11
            run for, sought, or held any elected or appointed political
12
            office?
13
       33   Do your views regarding the 2024 election, any candidates ___ YES ___ NO
14
            for President, or any former candidates for President in any
15
            way prevent you from being a fair and impartial juror in
16
            this case?
17
       34   Do you believe government law enforcement agencies ___ YES ___ NO
18
            make decisions on whether to investigate and prosecute
19
            individuals based on politics?
20
       35   Do you believe Robert Hunter Biden is being prosecuted ___ YES ___ NO
21
            in this case or is not being prosecuted in other cases
22
            because his father is the President of the United States and
23
            was until recently a candidate for President?
24
       36   Do you have any education, training, or work experience ___ YES ___ NO
25
            in addiction treatment or counseling?
26
27
28
                                                    7
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 1
       37   Have you or a family member ever had significant issues ___ YES ___ NO
 2
            with the use of controlled substances, narcotics, or
 3
            alcohol?
 4
       38   Do you have any strong positive or negative views about ___ YES ___ NO
 5
            past users of controlled substances, narcotics, or alcohol?
 6
       39   Do you believe someone who is addicted to drugs or ___ YES ___ NO
 7
            alcohol should not be charged with a crime?
 8
       40   Do you have any opinions about addiction to drugs or ___ YES ___ NO
 9
            alcohol that would prevent you from maintaining an open,
10
            impartial mind until all of the evidence is presented and
11
            the Court gives you instructions?
12
       41   Would you have difficulty reaching a verdict solely based ___ YES ___ NO
13
            on the evidence presented at trial?
14
       42   Are you aware of any reason why you would not be able ___ YES ___ NO
15
            to follow the law as instructed by the Court?
16
       43   The Court will instruct you that you cannot do any ___ YES ___ NO
17
            research or investigation, including on the Internet, on any
18
            issues in the case, and that you cannot communicate with
19
            others about your jury service. Would you have any
20
            difficulty following this rule?
21
       44   Under the law, a defendant need not testify or produce any ___ YES ___ NO
22
            evidence. The burden of proof is always on the
23
            Government. If a defendant does not testify, you cannot
24
            consider that fact in any way in reaching a decision. In
25
            other words, if Robert Hunter Biden chooses not to testify,
26
            you may not hold that against him. Would you have any
27
            difficulty following this rule?
28
                                                  8
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 1
       45   A fundamental principle of our legal system is that when a ___ YES ___ NO
 2
            person is charged with a crime, he or she is presumed to
 3
            be innocent unless and until the Government proves guilt
 4
            beyond a reasonable doubt. Would you have any difficulty
 5
            following this rule?
 6
       46   Testimony may be presented in this case by a witness who ___ YES ___ NO
 7
            has received a grant of immunity. The Court will instruct
 8
            you on how to carefully evaluate an immunized witness’s
 9
            testimony. Would you have any difficulty following that
10
            instruction?
11
       47   Have you served on a jury in a criminal case before?           ___ YES ___ NO
12
       48   Have you served on a grand jury before?                        ___ YES ___ NO
13
       49   Have you ever been a witness in a civil or criminal case, ___ YES ___ NO
14
            or have you ever been a plaintiff or defendant in a case?
15
       50   Is there anything else, including anything related to any ___ YES ___ NO
16
            other question, that you would like to tell the Court in
17
            connection with your service as a juror in this case?
18
19
            Please keep this questionnaire with you. The judge will ask you which questions
20
      you answered with a YES. If you answered any questions with a YES, please write
21
      down the numbers of those questions here. ___________________________________
22
      _____________________________________________________________________
23
24
25
26
27
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                                                 9
